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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 CIRBA INC. (d/b/a DENSIFY)
 and CIRBA IP, INC. ,

                           Plaintiffs,

           V.                                              C.A. No. 19-742-LPS

 VMWARE, INC.,

                           Defendant.


                                         VERDICT FORM

INFRINGEMENT OF U.S. PATENT NO. 8,209,687

Question No. 1:

          Has Densify proven, by a preponderance of the evidence, that VMware has literally

infringed any of the following claims of the ' 687 patent?

    "Yes " is a finding for Densify. "No " is a finding for VMware.
    Ii
                Product        Claim                            Answer
                                                            /
                            Claim 3         Yes        t/          No
         vSphere with
         DRS                Claim 7          Yes       v            No

                            Claim 3          Yes       (/           No
         vROps with DRS
                            Claim 7          Yes       V'           No


         VMConAWS
                            Claim 3          Yes       V            No
         with DRS 2.0
                            Claim 7          Yes       I/           No




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Question No. 2:

       Has Densify proven, by a preponderance of the evidence, that VMware has actively

induced direct infringement of any of the following claims of the ' 687 patent?

    "Yes " is afindingfor Densify. "No " is afindingfor VMware.

           Product           Claim                        Answer

                          Claim 3          Yes        ~          No
     vSphere with
     DRS                  Claim 7           Yes       (/""       No
                                                             ~




                          Claim 3           Yes       v          No
     vROps with DRS
                          Claim 7           Yes       ~          No

                          Claim 3           Yes       y          No
     VMConAWS
     with DRS 2.0
                          Claim 7           Yes       t,,,/      No



Question No. 3:

       If you have found that VMware directly infringed at least one claim of Densify' s ' 687

patent, or if you have found that VMware has actively induced direct infringement of at least one

claim ofDensify' s ' 687 patent, has Densify proven, by a preponderance of the evidence, that

VMware ' s infringement of the ' 687 patent was willful?

       "Yes " is afindingfor Densify. "No " is afindingfor VMware.


        t,/       Yes (Willful)

                  No (Not Willful)




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INFRINGEMENT OF U.S. PATENT NO. 9,654,367

Question No. 4:

       Has Densify proven, by a preponderance of the evidence, that VMware has literally

infringed any of the following claims of the ' 367 patent?

        "Yes " is afindingfor Densify. "No" is afindingfor VMware.

       Claim 1                       No - - - -

       Claim 9        Yes    I/      No _ _ __

       Claim 13       Yes - ~ - No - - - -

       Claim 17       Yes ----'""'--- No - - - -



Question No. 5:

       Has Densify proven, by a preponderance of the evidence, that VMware has actively

induced direct infringement of any of the following claims of the ' 367 patent?

        "Yes" is afindingfor Densify. "No " is afindingfor VMware.

       Claim 1        Yes - - -

       Claim 9        Yes - - -

       Claim 13       Yes - - - No - - - -

       Claim 17       Yes - - - No - - - -




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Question No. 6:

       If you have found that VMware infringed at least one claim of Densify's ' 367 patent, or

if you have found that VMware has actively induced direct infringement of at least one claim of

Densify' s ' 367 patent, has Densify proven, by a preponderance of the evidence, that VMware ' s

infringement of the ' 367 patent was willful?

       "Yes " is afindingfor Densify. "No " is afindingfor VMware.


                  Yes (Willful)

                  No (Not Willful)



VALIDITY OF DENSIFY'S U.S. PATENT NO. 8,209,687

Question No. 7:

       Has VMware proven, by clear and convincing evidence, that any of the following claims

of the '687 patent is invalid as anticipated by DRS 2006?

       "Yes " is a finding for VMware. "No " is a finding f or Densify.

     Claim 3        Yes - - -

     Claim 7        Yes              No




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Question No. 8:

       Has VMware proven, by clear and convincing evidence, that any of the following claims

of the ' 687 patent is invalid because the claimed subject matter would have been obvious to a

person of ordinary skill in the art at the time of the claimed invention based on DRS 2006?

       "Yes " is afindingfor VMware. "No " is afindingfor Densify.

     Claim 3       Yes - - -

     Claim 7       Yes              No - - - -


TRADEMARK INFRINGEMENT

Question No. 9:

       Do you find that VMware is liable for trademark infringement?

  "Yes " is a finding for Densify. "No " is a finding for VMware.

                   No~


DELAWARE DECEPTIVE TRADE PRACTICES ACT

Question No. 10:

       Do you find that VMware is liable for deceptive trade practice?

       "Yes " is afindingfor Densify. "No " is afindingfor VMware.
                               /
                   No    V




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DAMAGES

       The '687 Patent

Question No. 11:

       If you have found that VMware infringed at least one claim of the '687 patent, and if you

have found that this same claim is not invalid, what is the dollar amount Densify has proven it is

entitled to as a reasonable royalty for past infringement?

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       The '367 Patent

Question No. 12:

       If you have found that VMware infringed at least one claim of the '367 patent, what is the

dollar amount Densify has proven it is entitled to as a reasonable royalty for past infringement?

           , ,.........l_..l~Z---,~"~'- - - -
       $ ___


       Trademark Infringement

Question No. 13:

       If you have found that VMware is liable for trademark infringement, what is the dollar

amount of damages that Densify has proven?

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               _ _ __




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CONCLUSION

       You have reached the end of the verdict form. Review the completed form to ensure that

it accurately reflects your unanimous determinations. All jurors should then sign the verdict

form in the space below and notify the Court Security Officer that you have reached a verdict.

The Foreperson should retain possession of the verdict form and bring it to the Courtroom in the

envelope provided.


       Date    I   /2,4   J   20Zo




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